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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                         FORT MYERS DIVISION

JIMMY LEE KROFT,

      Plaintiff,

v.                                               Case No: 2:20-cv-396-JLB-NPM

MARK S. INCH, et al.,

      Defendants.


                    ORDER OF SPECIAL APPOINTMENT
                    AND SERVICE UPON DEFENDANTS

      Plaintiff is proceeding on his Second Amended Complaint (Doc. 37) and was

granted leave to proceed in forma pauperis. (Doc. 21). Service on Defendant Colonel

Robinson was previously returned unexecuted, with a notation that he is now

employed at Santa Rosa Correctional Institution. (Doc. 43). This Order directs

service of the Second Amended Complaint on Defendant Colonel Robinson.

      Accordingly, it is ORDERED:

      (1)    The Clerk is directed to prepare the service package for certified

mailing to the Special Appointees at the Santa Rosa Correctional Institution

designated below. The packet shall include the Second Amended Complaint (Doc.

37), a summons, and this Order. The Clerk shall notate the docket with the date the

service package was mailed. Pursuant to Rule 4(c)(3) of the Federal Rules of Civil
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Procedure, the Court specially appoints Christy Padgett, SGT and/or Holly Sours,

CO to effectuate service in this matter.

      (2)    Within FOURTEEN(14) DAYS after receipt of the service package,

Christy Padgett, SGT and/or Holly Sours, CO shall serve the complaint, summons,

and this Order to Colonel Robinson at Santa Rosa Correctional Institution, complete

and sign the Return of Service form, and return it (in the self-addressed envelope

provided) to the Clerk of Court as proof of service.

      (3)    If the defendant is no longer employed at Santa Rosa Correctional

Institution or is otherwise unable to be served, the Special Appointee shall complete

and sign the Return of Service unexecuted for that defendant. If service is returned

unexecuted, or if a return is not filed within forty-five (45) days from the date of

this order, the Clerk of Court shall so note on the docket immediately.

      (4)    Defendant shall have SIXTY (60) DAYS from the date of service of

process by the Special Appointee to answer or otherwise respond to the Complaint.

      ORDERED in Fort Myers, Florida on June 21, 2021.




c:    all parties of record
      special appointees




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